Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 1 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 2 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 3 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 4 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 5 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 6 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 7 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 8 of 9
Case 21-12876-amc   Doc 30-2 Filed 02/07/22 Entered 02/07/22 13:00:56   Desc
                       Loan Modification Page 9 of 9
